CaSe: 2211-CV-OOJ_32-|\/|PI\/|-JI\/|V DOC #Z 1 Filed: 06/16/11 1 Of 3 Page|D #Z F|LED

IN THE UNITED STATES DISTRICI`
FOR THE N()RTHERN DISTRICI` OF MISSISSIPPI
DELTA DIVISION

ESTATE OF JAMES HAWKINS, BY AND THROUGH
THE ADMINISTRATRIX, REBECCA HAWKINS PLAINTIFF

   

VS. CAUSE NO.: ’

GGNSC BATESVILLE, LLC d/b/a

GOLDEN LIVING CENTER - BATESVILLE DEFENDANT
NOTICE OF REMOVAL

COMES NOW Defendant GGNSC Batesville, LLC d/b/ a Golden Living Center -
Batesville (“GGNSC” or “Defendant”), by and through counsel, and liles this its Notice of
Removal of this action to the United States District Court for the Northern District of
Mississippi, Delta Division, and Sets forth the following grounds for removal, to-Wit:

1. This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1332, 1441, and
1446.

2. Plaintiff Estate of James Hawkins, By and Through the Administratrix,
Rebecca HaWkins (“Plaintift”) filed this action against Defendant on or about May 19,
2011 in the Circuit Court of Panola County, Mississippi. Defendant Was served With
process on May 27, 2011. Pursuant to the provisions of §§ 1441 and 1446 of Title 28 of
the United States Code, Defendant timely removes this action to the United States
District Court for the Northern District of Mississippi, Delta Division, Which is the
judicial district and division in Which the action is pending.

2. This action alleges a claim for damages based upon alleged medical

negligence at GGNSC on or about May 27, 2009.

933856

 

CaSe: 2211-CV-OOJ_32-|\/|P|\/|-.]|\/|V DOC #Z l Filed: 06/16/11 2 Of 3 Page|D #Z 2

3. Plaintiff was at the time of the commencement of the action a citizen of the
State of Mississippi. GGNSC is a Delaware limited liability company with its principal
place of business located in the State of Delaware. There is complete diversity of
citizenship, therefore, between the Defendant and Plaintiff.

4. Removal of this action to the United States District Court is proper under
28 U.S.C. § 1441(a) and (b), given that there is complete diversity of citizenship between
Plaintiff and the Defendant, as the Defendant is not a citizen of the State of Mississippi.
The United States District Court would, therefore, have had original jurisdiction of this
matter pursuant to 28 U.S.C. § 1332 had the action originally been filed in Federal
Court. Defendant’s Notice of Removal is timely because the Notice was filed in this
Court within thirty (30) days after receipt by the Defendant “of a copy of an amended
pleading, motion, order or other paper from which it may first be ascertained that the
case is one which is or has become removable. . . “. 28 U.S.C. § 1446(b). Defendant
files a copy of all process, pleadings and orders served on said Defendant in the action.
Further, the complete file of the Panola County Circuit Court will be filed once provided
by that Court.

WHEREFORE PREMISES CONSIDERED, Defendant GGNSC Batesville, LLC
d/b/ a Golden Living Center - Batesville prays that this Court will exercise jurisdiction
and proceed with the handling and disposition of this case, and all claims asserted
herein, and that all further proceedings in the Circuit Court of Panola County,
Mississippi be hereby stayed.

Respectfully submitted this the 15th day of June, 2011.

933856 2

CaSe: 2211-CV-OOl32-|\/|P|\/|-.]|\/|V DOC #Z l Filed: 06/16/11 3 Of 3 Page|D #Z 3

GGNSC BATESVILLE, LLC D/B/A

 

 

L. BRADLEY DILLARD
Mississippi Bar No. 10114

OF COUNSEL:

MITCHELL, McNUTI` & SAMS, P.A.
105 SOUTH FRONT STREET

POST OFFICE BOX 7120

TUPELO, MISSISSIPPI 38802-7120
(662) 842-3871 (telephone)

(662) 842-8450 (facsimile)

CERTIFICATE OF SERVICE

I, L. BRADLEY DILLARD, one of the attorneys for Defendant GGNSC Batesville,
LLC d/b/ a Golden Living Center - Batesville do hereby certify that I have this date
forwarded, via U.S. Mail, postage prepaid, a true and correct copy of the above and
foregoing Notice of Removal to the following counsel:

Levi Boone, III, Esq.

Boone Law Firm, P.A.

P.O. Box 1772

Cleveland, MS 38732

THIS the 15th day of June, 2011.

 

 

L. ‘§RADLEY DILLARD

933856 3

